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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

  UNITED STATES OF AMERICA
                                                Case No. 2:19-CR-11
  v.
                                                JRG/RSP
  BEAU DANIEL MERRYMAN


                               NOTICE OF PLEA AGREEMENT

         The United States of America, by its undersigned counsel, would show the Court

 that the defendant, Beau Daniel Merryman, and the government have entered into a

 written plea agreement in relation to the charges now pending before this Court.

                                            Respectfully submitted,
                                            NICHOLAS J. GANJEI
                                            ACTING UNITED STATES ATTORNEY

                                            /s/ D. Ryan Locker
                                            D. RYAN LOCKER
                                            ASSISTANT U.S. ATTORNEY
                                            Texas Bar No. 24046307
                                            110 North College Avenue, Suite 700
                                            Tyler, Texas 75702
                                            (903) 590-1400
                                            Ryan.Locker@usdoj.gov


                              CERTIFICATE OF CONFERENCE

         I certify that on or about the date of filing, I have conferred with opposing counsel

 who has indicated that he does not oppose the contents of this notice or its filing.

                                            /s/ D. Ryan Locker
                                            D. RYAN LOCKER

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                                  CERTIFICATE OF SERVICE

         I certify that this Notice of Plea Agreement has been served on counsel for

 defendant via the court’s CM/ECF system on October 21, 2021.

                                                  /s/ D. Ryan Locker
                                                  D. RYAN LOCKER




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